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 5
     Attorney for Defendant
     JESUS NUNEZ-MEZA
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                         )       No. CR-S-15-102 GEB
                                                       )
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                                                       )
             Plaintiff,                                )       STIPULATION REGARDING
11
                                                       )       EXCLUDABLE TIME PERIODS
     v.                                                )       UNDER SPEEDY TRIAL ACT;
12
                                                       )       [PROPOSED] FINDINGS
     JESUS NUNEZ-MEZA,                                 )
13
                                                       )       Date: June 30, 2017
                                                       )       Time: 9:00 a.m.
14           Defendant.                                )       Judge: Honorable Garland E. Burrell, Jr.
                                                       )
15
                                                       )
                                                       )
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17           The United States of America through its undersigned counsel, Timothy Delgado,

18   Assistant United States Attorney, together with counsel for defendant Jesus Nunez-Meza, John
19
     R. Manning, Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for status conference on June 16, 2017.
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22
          2. By this stipulation, the defendant now moves to continue the status conference until June

23   30, 2017 for a change of plea and to exclude time between June 16, 2017 and June 30, 2017
24
     under the Local Code T-4 (to allow defense counsel time to prepare). (The other defendants in
25
     this matter are moving to a date in July 2017.)
26
          3. The parties agree and stipulate, and request the Court find the following:
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28           a. Initially, the government provided 65 pages of discovery as well as three DVDs

                 containing numerous videos. On January 13, 2016 the government provided an
                                                           1
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        additional 2,683 pages of discovery. On February 25, 2016 the government produced
 1

 2      another 694 pages of discovery. Finally, on March 23, 2016 the government provided

 3      an additional ten DVD's containing hundreds of pages of cell phone records.
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     b. Counsel for the defendant needs additional time to review the discovery, conduct
 5
        investigation, interview potential witnesses, and discuss USSG calculations and
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 7
        possible resolution scenarios. Additionally, at the request of defense counsel, certain

 8      changes were made to the proposed plea agreement. Counsel for Mr. Nunez-Meza
 9      needs additional time to review the changes to the plea agreement and to meet with
10
        Mr. Nunez-Meza, with an interpreter, in/at the Nevada County jail, to review and
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        discuss the changes to the plea agreement.
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13   c. Counsel for the defendant believes the failure to grant a continuance in this case

14      would deny defense counsel reasonable time necessary for effective preparation,
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        taking into account the exercise of due diligence.
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     d. The government does not object to the continuance.
17
     e. Based on the above-stated findings, the ends of justice served by granting the
18

19      requested continuance outweigh the best interests of the public and the defendant in a

20      speedy trial within the original date prescribed by the Speedy Trial Act.
21
     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
22
        Section 3161(h)(7)(A) within which trial must commence, the time period of June 16,
23
        2017, to June 30, 2017, inclusive, is deemed excludable pursuant to 18 United States
24

25      Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4 because

26      it results from a continuance granted by the Court at the defendant's request on the
27
        basis of the Court’s finding that the ends of justice served by taking such action
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        outweigh the best interest of the public and the defendant in a speedy trial.

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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
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 6

 7
     Dated: June 14, 2017                                         /s/ John R. Manning
                                                                  JOHN R. MANNING
 8                                                                Attorney for Defendant
                                                                  Jesus Nunez-Meza
 9

10
     Dated: June 14, 2017                                         Phillip A. Talbert
11                                                                United States Attorney
12
                                                                  by: /s/ Timothy Delgado
13                                                                TIMOTHY DELGADO
                                                                  Assistant U.S. Attorney
14
                                                 ORDER
15
     IT IS SO FOUND AND ORDERED .
16
     Dated: June 14, 2017
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